






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00370-CV






Donald Ray McCray, Appellant


v.


Deleta D. Jones, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-07-001779, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		McCray, an inmate housed in a facility located in Walker County, filed suit in
Travis&nbsp;County against various Walker County government officials.  On February 4, 2008, the
district court granted the defendants' motion to transfer venue from Travis County to Walker County. 
McCray filed a notice of appeal in this Court on June 9, 2008. On November 3, 2008, we received
notice from the District Clerk of Walker County that the clerk's record in the cause had been
transferred to Walker County.

		This Court has appellate jurisdiction of civil cases within the Third Court of Appeals
District.  See Tex. Gov't Code Ann. § 22.220(a) (West 2004).  Walker County is not within the
Third&nbsp;Court of Appeals District.  See Tex. Gov't Code Ann. § 22.201(d), (k) (West Supp. 2008). 
Accordingly, we do not have jurisdiction over this case.  Furthermore, to the extent McCray may be
attempting to appeal the district court's interlocutory order transferring venue from Travis County
to Walker County, we are without jurisdiction to review such an order. See Tex. Civ. Prac. &amp; Rem.
Code Ann. § 15.064(a) (West 2002); § 51.014 (West 2008); Tex. R. Civ. P. 87(6).  

		We dismiss the appeal for want of jurisdiction.



						__________________________________________

						Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   February 6, 2009


